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                               UNITED STATES DISTRICT COURT
     16
                              CENTRAL DISTRICT OF CALIFORNIA
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          JACLYN SANTOMENNO, et al.,                   Case No. 2:12-cv-02782-DDP (MANx)
     19
                              Plaintiffs,              DEFENDANTS' OPPOSITION TO
    20                                                 PLAINTIFFS' MOTION FOR
               v.                                      CLASS CERTIFICATION
    21
          TRANSAMERICA LIFE                            [PUBLIC VERSION]
    22    INSURANCE COMPANY, et al.,
                                                       Judge:           Hon. Dean D. Pregerson
     23                       Defendants.              Magistrate:      Hon. Margaret A. Nagle

    24                                                 Courtroom:       3
                                                       Date:            December 15, 2014
     25                                                Time:            10:00 am

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      1   I.     INTRODUCTION.
      2          Plaintiffs have retreated from the broader allegations of their Complaint and
      3   now argue only that investment management and administrative fees ("IM/Admin
      4   fees") on some separate accounts-the "Menu 10 Ret Opt" accounts-are
      5   excessive. They admit that all other components of TLIC's fee structure are
      6   reasonable. Purporting to represent a nationwide class, plaintiffs argue that these
      7   IM/Admin fees are the same for each plan investor and thus can be tested for
      8   reasonableness across all plans with the same evidence. They build this contention
      9   on the false premise that one can unravel the total fees TLIC charges for a bundle of
     10   investment products and administrative services, ignoring the overwhelming
     11   evidence that TLIC's retirement products are always priced and sold as a package.
     12   In other words, they insist on litigating the reasonableness of the IM/Admin fees
     13   solely by reference to investment-level services, without considering the other
     14   services TLIC provides to plans and participants, or evidence showing that the
     15   IM/Admin charges sometimes defrayed the cost of those other services.
     16         Yet in order to justify class litigation challenging the reasonableness only of
     17   TLIC's IM/Admin charges on certain separate accounts and only with reference to
     18   specific services plaintiffs have plucked out of TLIC' s comprehensive offerings,
     19   they bear the heavy burden of establishing across all TLIC-serviced plans that
     20   TLIC's services were not sold as a bundle. For if a plan bargained at arm's length
     21   for a package of services by reference to the total cost of the package, it is the
     22   reasonableness of that total fee that matters. Thus the first problem with plaintiffs'
     23   class petition: There is overwhelming evidence that TLIC 's Ret Opt separate
     24   accounts were sold only as part of a package in exchange for an interdependent
     25   package of fees, including compelling proof specific to each plan that the plans
     26   bargained on a total fee basis.
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      8         The more fundamental problem with plaintiffs' proposal for class litigation is
      9   that the reasonableness ofTLIC's total fees can only be litigated on a plan-specific
     10   basis. This conundrum explains why plaintiffs desperately cling to their theory that
     11   TLIC's IM/Admin fees can be singled out and assessed solely in light of TLIC's
     12   separate account-level services (and ignore TLIC's plan-level services).     Plaintiffs
     13   all but concede that what a reasonable fiduciary would have paid for the package of
     14   products and services TLIC delivered to a given plan is an inherently individualized
     15   fact question. One of the most significant variables in determining the fee for any
     16   plan is the amount charged to the plan by its independent financial advisor. TLIC
     17   does not determine this fee; the plan chooses its financial advisor, commits to the
     18   financial advisor what fee will be paid, and then instructs TLIC to price the
     19   financial advisor's fee into the total bundle of fees. This pass-through fee is just
     20   one variable in determining the total fees that plans pay for their TLIC package.
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      1          The experiences of the named plaintiffs' plans, Gain and QualCare, illustrate
      2   the folly of class litigation on plaintiffs' claims. These two plans had different fee
      3   structures and service levels. Indeed, even though the plans each retained the same
      4   independent financial advisor, Anthony Pascazio, they sought wildly different
      5   levels of service from him-and, accordingly, instructed TLIC to compensate him
      6   at substantially different rates out ofTLIC's collected fees. Their common advisor
      7   testified that he bargained for the plans' services on a total-cost basis. And the
      8   competitive bidding scenarios in which each plan came to the TLIC platform, and
      9   later left, are unique. The finder of fact would have to consider those scenarios in
     10   determining whether each plan paid market-level total fees, negotiated at arm's
     11   length, to TLIC. The fact that claims of just the two plans in which plaintiffs
     12   participated would have to be tried separately dooms plaintiffs' bid for a nationwide
     13   class of thousands of plans.
     14          There are a host of other plan-specific inquiries that preclude class
     15   treatment-including the threshold question of whether TLIC undertook a fiduciary
     16   duty to each plan with respect to the reasonableness of its own fees. For these and
     17   other reasons, described in greater detail below, plaintiffs' motion should be denied.
     18   II.    STATEMENT OF FACTS. 1
     19         In challenging the reasonableness of one discrete element ofTLIC's fees in
     20   isolation-investment-level fees collected from Menu 10 Ret Opt separate
     21   accounts-plaintiffs ignore essential elements of how TLIC prices its products and
                                                        2
     22   how the market for TLIC's products works.
     23
                 1
                  All lettered exhibits cited in this brief are exhibits to the concurrently-filed
     24   Declaration of Catalina J. Vergara In Opposition to Plaintiffs' Motion for Class
     25   Certification "Ver ara Declaration" , unless otherwise noted.
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     28                                                                  ootnote continue next page)
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   8          TLIC's counterstatement of facts corrects plaintiffs' omissions by describing
   9    the competitive market in which TLIC operates, the bundled nature ofTLIC' s
  10    offerings, and the wide variation in both the package of services selected by plans
  11    and the range of fees that they pay. These facts bear directly on what plaintiffs
  12    need to prove to show their claims are entitled to class treatment.
  13          A.     The Plans at Issue Here Are Made Available Only in the Highly
                     Competitive Small End of the Market, Where Clients Reqmre a
  14                 Wide Range of Services to Meet Their Needs.
  15          To properly administer a 40l(k) plan, an employer must work with service

  16    providers such as TLIC to obtain the investment products and administrative
  17    services required for a successful plan. TLIC competes vigorously for the privilege
  18    of delivering those investment products and services. In the small end of the
  19    market, which comprises plans with assets under $20 million, competition from
  20    other insurance companies, banks, financial services companies, and even payroll
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    1   companies is fierce. (Declaration of Stig Nybo ("Nybo Deel.") at        ii 8.)
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  12                            Others retain a TPA to handle some aspects of 401 (k) plan
  13    administration and instruct TLIC to compensate that TPA out of its collected fees.
  14    (Ex. J at ii 48.) Most retain (and instruct TLIC to pay) an independent financial
  15    advisor, and the level and quality of services provided by such an advisor vary from
  16    plan to plan. (Ex. J at ii 53.) It is the plan, not TLIC, that determines the financial
  17    advisors' fees. (Id.)
  18          The named plaintiffs' plans provide a good example of this kind of variation.
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   8          B.    TLIC Sells Its Small-Market Administrative and Investment
                    Services in Tailored "Packages" or "Bundles" Only.
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  1O          In the small end of the market, TLIC made investment options available
  11    through separate accounts in two ways during the proposed class period: "Inv Opts"
  12    and "Ret Opts." Plaintiffs ignore Inv Opts and only challenge some of the Ret

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  22          Bundled servicing arrangements are an industry norm, particularly for the
  23    plans in plaintiffs' purported class. (Ex. J   at~   40.) The characteristics of the
  24    arrangements are also fully disclosed to the named fiduciaries of plan sponsors
  25    before they approve as reasonable the services and fees provided for in the GAC
  26    and Services Agreement. The specific disclosures regarding TLIC's fees have
  27    varied over time, however, such that different plans in the proposed class would
  28    have seen different forms.
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  10        c.   Total Fee     ociated with TLIC's Products and Services Vary
                 Considerably Across Plans, and the Information Needed to Ju(Jge
  11             the Reasonableness of Those Fees is Plan-Specific.
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  18    III.   PLAINTIFFS HAVE FAILED TO ESTABLISH COMMON
               QUESTIONS JUSTIFYING CLASS TREATMENT.
  19
               A.    TLIC's Fiduciary Status Regarding Its Fees Cannot Be
  20                 Established Witli Common Proof.
  21           Even though establishing TLIC's fiduciary status with respect to its fees is an
  22    essential predicate to all of plaintiffs' claims, see Pegram v. Herdrich, 530 U.S.
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                  Competition does not cease when TLIC places a plan, as plans routinely
  24    seek to re-price their contracts when assets increase or a new advisor is hired. (Ex.
  25    I at 55: 1-8.)
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   1   211, 226 (2000) (fiduciary status is a "threshold question" in "every case charging
   2   breach of ERISA fiduciary duty"), plaintiffs offer virtually no law, evidence, or
   3   even argument suggesting that they can establish this element across all plans with
   4   common, classwide proof. Plaintiffs instead attempt to piggyback on this Court's
   5   motion to dismiss ruling, which held only that plaintiffs "have stated a claim for
   6   TLIC's fiduciary status" sufficient to survive Rule 12(b)(6). (Dkt. 137 at 22
   7   (emphasis added).) As explained below, that ruling is largely immaterial at this
   8   stage of the proceedings, where the relevant rule is Rule 23 and the critical question
   9   is whether plaintiffs have carried their burden of establishing that they can prove
  10   TLIC's fiduciary status as to all class members with common evidence. They have
  11   not come close: Every asserted basis for finding fiduciary status on a classwide
  12   basis fractures on plan-specific proof, fails on the merits, or both.
  13                 1.     Plaintiffs Have Not Introduced Common, Classwide
                            Evidence of TLIC's Exercise of its Contractual Rights to
  14                        Alter Fees and Add or Delete Investment Options.
  15          Plaintiffs' primary submission is that they can establish TLIC's fiduciary
  16   status "with respect to its compensation" simply by pointing to "uniform aspects of
  17   the Group Annuity Contract" that give TLIC the "power[]" on advance notice to
  18   adjust fees and change available investment options. (Mot. at 19 .) But under
  19   ERISA, the mere fact that a person possesses discretion regarding the management
  20   of a plan or its assets is not enough; he is a plan fiduciary only "to the extent he
  21   exercises any discretionary authority or discretionary control" over those matters.
  22   29 U.S.C. § 1002(21)(A)(i) (emphasis added). Ample case law confirms the point,
  23   including the Seventh Circuit's recent opinion in Leimkuehler v. American United
  24   Life Insurance Co., 713 F.3d 905 (7th Cir. 2013). There, the court correctly held
  25   that§ 1002(21)(A) "requir[es] that an entity exercise authority or control with
  26   respect to the action at issue in the suit in order to be subject to liability as a
  27   fiduciary." Id. at 913 (emphasis added); see also Trustees of the Graphic
  28   Commc 'ns Int'l Union Upper Midwest Local JM Health & Welfare Plan v.
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   1   Bjorkedal, 516 F.3d 719, 733 (8th Cir. 2008) (§ 1002(2l)(A)(i) imposes fiduciary
   2   obligation only "where the individual actually exercises some authority").
   3          TLIC's contractual rights are thus relevant to the fiduciary status question
   4   only if plaintiffs can offer classwide proof regarding TLIC's exercise of those rights
   5   to alter fees or investment options from those to which the plan sponsors agreed.
   6   No such proof exists. To begin with fees:
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  14          The same principles doom plaintiffs' efforts to establish fiduciary status
  15   through TLIC's right to add or delete investment options. 8 TLIC could only be a
  16   fiduciary "to the extent it exercise[d] its contractual authority" to deprive a plan of
  17   an option its sponsor previously selected, Leimkuehler, 713 F.3d at 914, and
  18   evidence of that exercise varies across participants and plans.
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  25                                                                    Plan sponsors'
       ability to terminate their relationship with TLIC following such notice (or to select
  26   a different option) means that they had "final authority" over any changes to the
  27   investment lineup, Hecker v. Deere & Co., 556 F.3d 575, 584 (7th Cir. 2009}-
       precluding any finding that TLIC was a fiduciary on this basis.
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   4    Assessing whether TLIC was a fiduciary based on the exercise of its authority to
   5    alter investment lineups would require inquiry into whether class members invested
   6    in one of these few affected accounts at the time it was removed and whether any
   7    damages were sustained-a participant- and plan-specific inquiry. Moreover, to the
   8    extent the effect of TLIC's exercise of its removal power was to move participants
   9    into better or cheaper investments, plaintiffs would have a difficult time proving a
  10    breach even if they established TLIC's fiduciary responsibility for the change. It
  11    follows that TLIC's contractual rights cannot justify deeming TLIC a fiduciary with
  12    respect to all plans. 10
  13           Still more, the evidence regarding whether plaintiffs would have to pay
  14    "contract termination and participant level redemption fees" to leave the TLIC
  15    platform in the face of increased fees-a fact this Court cited in support of its
  16    hypothesis that TLIC could be a fiduciary under the facts pled in the Complaint
  17    (Dkt. 13 7- l 6~is likewise individualized.
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  22    - - These are the kinds of"[d]issimilarities ... (t]hat have the potential
  23    to impede the generation of common answers." Wal-Mart Stores, Inc. v. Dukes,
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  26            Dr. Strombom's Report establishes that the question whether TLIC
  27    exercised its contractual right to change the underlying investments in Separate
        Accounts likewise turns on plan-specific proof. (Ex. J at ifif 132-41.)
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                                                              OPP. TO PLS.' MOT. FOR CLASS CERT.
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    1   U.S._, 131 S. Ct. 2541, 2565 (2011) (quoting Richard A. Nagareda, Class
   2    Certification in the Age ofAggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009)).
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        -11          2.     TLIC Has Not Acknowle<!ged Fiduciary Responsibility for
                            the Reason bleness of Its Fees.
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   9          Plaintiffs next assert that TLIC has acknowledged a fiduciary responsibility
  10    for the fees it charged to the plans in the class, resting on a string citation to various
  11    promotional brochures prepared by TLIC (Mot. at 20) that do not support their
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  18    Court has recognized, fiduciary status under ERIS A "is determined not by a party's
  19    status but by particular actions taken with respect to a plan." Dkt. 137-11; see also
  20    Pegram, 530 U.S. at 225-26 ("the threshold question is ... whether [the defendant]
  21    was acting as a fiduciary (that is, was performing a fiduciary function) when taking
  22    the action subject to complaint"); accord Harris v. Amgen, Inc. , 573 F.3d 728, 737
  23    n.6 (9th Cir. 2009) (quoting Pegram, 530 U.S. at 225-26). TLIC's acceptance of
  24    fiduciary status regarding one set of actions (investment and advisor selection)
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                                                                OPP. TO PLS.' MOT. FOR CLASS CERT.
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   1   proves nothing about its fiduciary status regarding another (fee-setting).
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  10         In all events, plaintiffs offer no proof that these brochures and other materials
  11   were universally, or even widely, disseminated to clients. The acknowledgments of
  12   fiduciary status could be relevant only for plans where plan officials received and
  13   understood them as such. This Court therefore need not conclude that TLIC lacks
  14   fiduciary status as to all Ret Opt plans in order to deny class treatment. It is
  15   sufficient for the Court to recognize that, even on plaintiffs' reading of the cited
  16   materials, TLIC is entitled to present plan-by-plan evidence of the materials
  17   received by plan sponsors, and that the need for such evidence fractures the
  18   proposed class.
  19                3.     TLIC Did Not Assume Fiduciary Responsibility for Fees
                           Through Its Investment Monitor Scorecards, and Proof
  20                       Regarding Use of the Scorecards Is Individualized.
  21         TLIC's decision to offer "Investment Monitor" scorecards to its client plans,
  22   as part of its "Fiduciary Management Program," did not, as plaintiffs suggest, make
  23   TLIC a fiduciary regarding its fees. The scorecards, both by design and as
  24   implemented, were simply tools for plan officials to employ in making their own
  25   fiduciary decisions-not replacements for fiduciary processes, or an effort by TLIC
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                                                              OPP. TO PLS.' MOT. FOR CLASS CERT.
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   2           In any event, the scorecards would only give rise to fiduciary status regarding
   3    fees if they were understood by TLIC and the relevant plan officials to be the
   4    primary basis for the latter's decision to invest in a particular separate account. 29
   5    C.F.R. 2510.3-21. If the scorecards were not mutually understood to be the primary
   6    basis for the plan's decision to include the separate account in the lineup, there
   7    would be no justification for deeming TLIC a fiduciary with respect to that
   8    investment selection. Needless to say, each plan official's decision-making process
   9    can only be establish d with individualized proof:
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  13                                                            Other plan officials may have
  14    used the scorecards still less, precluding common proof of TLI C's fiduciary status
  15    on this theory.
  16                 4.     TLIC's Fiduciary Warranty Does Not Apply to Fees At All,
                            and in Any Event Did Not Apply to Manyt>lans.
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  18          Plaintiffs also rely on TLIC's Fiduciary Warranty in arguing that TLIC
  19    assumed a fiduciary duty with respect to its fees. That reliance is misplaced in
  20    multiple respects. First, the text of the warranty expressly excludes fees: It makes
  21    clear that indemnification under the warranty does not "extend to claims that any
  22    expenses paid directly or indirectly by the plan are reasonable."   (Ex.Vat~   7.)
  23    TLIC cannot have accepted fiduciary status through the Fiduciary Warranty for
  24    something the Fiduciary Warranty explicitly excluded.
  25          Even if the warranty could be construed-against its terms-to apply to fees,
  26    determining which plans qualified is an individualized inquiry. The warranty does
  27    not apply automatically (Ex. Bat 248: 14-16), but instead turns on a number of
  28    prerequisites. To trigger its protections, the plan officials must, among other things,
                                                              OPP. TO PLS.' MOT. FOR CLASS CERT.
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    1   "approve and adopt" TLIC's "investment selection and monitoring process" "as
   2    part of its own due diligence process," and must continuously offer at least one
   3    investment choice from each of seven required investment categories. (Ex. V.)
   4    Unless these preconditions are satisfied, the warranty does not apply. -
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  16          To the extent plaintiffs contend that the Fiduciary Warranty somehow
  17    induced plan officials to abandon their own responsibilities to make prudent
  18    investment selections from TLIC's platform, resolving that contention similarly
  19    turns on plan-specific evidence, such as testimony from each plan's sponsor and
  20    independent financial advisor regarding how the warranty affected their investment
  21    decisionmaking. 12 These questions expose the proposed class as a "hodgepodge of
  22    factually as well as legally different plaintiffs," making a classwide finding of
  23    fiduciary status on that basis improper. Broussard v. Meineke Discount Muffler
  24    Shops, Inc., 155 F.3d 331, 343 (4th Cir. 1998) (quoting Georgine v. Amchem
  25    Prods., Inc., 83 F.3d 610, 632 (3rd Cir. 1996)).
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                                                              OPP. TO PLS.' MOT. FOR CLASS CERT.
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   1                 5.      This Court's Prior Dismissal Ruling Does Not Establish
                             That TLIC is a Fiduciary with Respect to Its Fees.
   2
   3          Plaintiffs' sole remaining basis for asserting classwide fiduciary status is this
   4   Court's determination, at the motion to dismiss stage, that plaintiffs' Complaint
   5   adequately alleged that TLIC was a fiduciary regarding its fees. Recent ERISA
   6   caselaw and the evidence adduced since the Court denied TLIC's motion to dismiss
   7   have undermined any rationale for accepting plaintiffs' fiduciary status allegations
   8   at the dismissal stage, and established that those rationales cannot apply on a
   9   classwide basis. 13
  10          The Court reasoned that TLIC must hold fiduciary responsibility for its fees
  11   because the Complaint implies that negotiations between TLIC and its clients over
  12   fees are not really at arm's length. (Dkt. 137.) Discovery has shown the opposite.
  13   Competition among service providers is fierce and frequent--especially for smaller
  14   plans. (Ex. J at Appendix C; see also Nybo Deel.    at~~   8-13.) Plaintiffs have not
  15   offered any evidence establishing that plan fiduciaries and their advisors universally
  16   failed to test the market to ensure that TLIC's fees were competitive and thus
  17   reasonable. 14 The question of sponsors' diligence in assessing TLIC's fee offering
  18   must, instead, be answered individually.
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                 Given that ERISA fiduciary responsibility includes a duty to act
  21   exclusively in the interests of the plan, any rule that service providers retained in a
       fiduciary capacity must be considered fiduciaries with respect to fees would
  22   prohibit such providers from recouping even joint-and-common costs, such as
  23   worker salaries and benefits or equipment, through its fees-which would in tum
       result in retirement plan service providers ceasing to provide such services. (Ex. K
  24   at~~ 84-87; Ex. W.) There is no reason to disrupt the market with such a fiduciary
  25   rule when plans and participants can hold the plans' named fiduciaries accountable
       for their a roval of an service rovider fees .iud ed to be unreasonable.
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                                                              OPP. TO PLS.' MOT. FOR CLASS CERT.
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   3          The Court also accepted plaintiffs' suggestion that TLIC must bear fiduciary
   4   responsibility for its fees simply because it has the power to alter them on advance
   5   notice. But, as explained above, the Seventh Circuit's recent opinion in
   6   Leimkuehler held otherwise on facts more similar to this case than any plaintiffs
   7   cite. As the court held, there can be no claim for fiduciary status under
   8   § l 002(21 )(A)(i) for a party that "never exercised" a potentially relevant
   9   "contractual right" to countermand a fee or investment choice agreed to by the
  10   plan's sponsor. Leimkuehler, 713 F .3d at 911. "A functional fiduciary under
  11   Section l 002(21 )(A) owes a duty to a plan through its actions," the court added,
  12   and it would be "unworkable" to hold that "fiduciary responsibilities" extend "to
  13   entities that took no action at all with respect to a plan." Id. at 914. 15 Applying
  14   Leimkuehler's reasoning here forecloses any remaining arguments for TLIC's
  15   classwide fiduciary status, because, as previously explained, the evidence regarding
  16   TLI C's exercise of its contractual rights is inherently individualized.
  17         B.     The Reasonableness of the Fees Paid by Plans in the Putative Class
                    Turns on Individualized Evidence.
  18
  19         Nor have plaintiffs shown that the reasonableness of TLIC's fees can be
  20   judged on a classwide basis using common evidence. In its dismissal order, this
  21   Court acknowledged that "TLIC is entitled to reasonable fees and profits." (Dkt.
  22   137 at 13.) Plaintiffs' own experts acknowledge that a market rate, determined by
  23   arm's-length bargaining, is the proper reference point for a reasonable fee (R.
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  25            It bears emphasis that Leimkuehler' s conclusion accurately reflects the
       distinction ERISA's text draws: To establish fiduciary status under 29 U.S.C.
  26   § 1002(21 )(A)(i)--the provision plaintiffs rely on here-the putative fiduciary must
  27   "exercise[] ... discretionary authority or discretionary control," not merely possess
       it, 29 U.S.C. § 1002(21)(A)(iii).
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                                                              OPP. TO PLS.' MOT. FOR CLASS CERT.
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   1   Lakind Deel., Ex. C at 9; id.., Ex. E at 17), and the case law is in accord. See, e.g.,
   2   Jones v. Harris Assoc. L.P., 559 U.S. 335, 345-46 (2010) (only fees that "bear[] no
   3   reasonable relationship to the services rendered and could not have been the
   4   product of arm's length bargaining" are indicative of fiduciary breach) (internal
   5   citations and quotations omitted). Yet each plan's sponsor bargains with ILIC at
   6   arm's length to assure that ILIC's fees are reasonable, in many instances
   7   conducting a competitive bidding process. Nearly every plan also has an
   8   independent advisor to act as a further check on the reasonableness ofTLIC's fees.
   9   Whether these sponsors fulfilled their duties to engage in arm's-length bargaining
  10   and pay only a market-based rate is a plan-specific inquiry. By contrast, to find
  11   liability on a classwide basis, the Court must conclude that more than seven
  12   thousand separate plan fiduciaries, aided by their advisors, acted imprudently by
                                                                                      16
  13   agreeing to pay ILIC's investment-level fees as part of an overall package.         The
  14   Court should not handcuff itself from hearing evidence of the role of the plan
  15   sponsors and their independent advisors in making sure the plans paid only market-
  16   based fees for their ILIC service packages.
  17         Moreover, examining the total fee-and the extent to which IM/Admin fees
  18   subsidize other services within that total fee-fully dissolves the proposed class
  19   into individualized inquiry. Indeed, plaintiffs do not even attempt to argue that the
  20   reasonableness of ILIC's total fee is subject to common proof. Among other
  21   things, if a plan or its advisor aggressively sought competitive b i d s - -
  22                            -and ILIC's fully-disclosed fees were comparable to
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                                                              OPP. TO PLS.' MOT. FOR CLASS CERT.
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   1          This is why plaintiffs try to single out TLIC's IM/Admin fees on Menu IO
   2   Ret Opts from the full package of fees, and argue they appear excessive when
   3   compared just to the discrete investment-level services TLIC provides to these
                            17
   4   separate accounts.        But IM/Admin fees are simply components ofTLIC's bundled
   5   401(k) product and fee structure, and answering whether the fees are reasonable
   6   cannot be done without examining TLIC's total fees, by reference to plan- and
   7   participant-specific evidence.
   8         As with the question ofTLIC's fiduciary status regarding its own fees, the
   9   Court need not resolve the reasonableness of TLIC's overall fees at the certification
  10   stage. It is enough for the Court to recognize that the reasonableness of a plan's
  11   fees is by its nature a plan-specific inquiry, and, indeed, that the very question
  12   whether it is appropriate to single out IM/Admin charges for scrutiny-divorced
  13   from the other elements of TLIC's fee structure-turns substantially on evidence
  14   that is unique to each plan in the class. See Dukes, 131 S. Ct. at 2551 (quoting
  15   Nagareda, 84 N.Y.U. L. Rev. at 132).
  16                1.      Plan-Specific Evidence Bears on Whether Plans Agreed or
                            Ex1>ected That IM/Admin Charges Would Help Pay for the
  17                        Full Bundle of Services They Receive.
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   6    inquiry can determine which plans received and understood these disclosures.
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  19           Plan-specific inquiries would thus be required to determine what each plan
  20    sponsor understood about the role of TLIC's IM/Admin fees in the overall fee
  21    structure.
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  11   plan-specific Form 5500s that plan officials did receive (and, indeed, had to sign off
  12   on), DOL instructions specifically allow reporting of service provider fees on a
  13   bundled basis, providing that, "[f]or Schedule C reporting purposes, a bundled
  14   service arrangement includes any service arrangements where the plan hires one
  15   company to provide a range of services either directly from the company, through
  16   affiliates or subcontractors, or through a combination, which are priced to the plan
  17   as a single package rather than on a service-by-service basis." (See Ex. AA at 25.)
  18   Although plaintiffs make no reference to the plan-level Form 5500s, individual
  19   inquiry would be needed to determine how each of the thousands of plans in the
  20   proposed class completed the forms. Both named plaintiffs' plans, at least, reported
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  22         18
                 The DOL requires both plans and separate accounts to report annually on
  23   their financial condition, investments, and fees via Form 5500 and its related
       schedules. At minimum lans must review and si n the Ian-level forms-for
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  25                                                                   although TLIC
       sometimes assists plans in completing the plan-level forms as part of its bundle of
  26   services. TLIC completes and files the separate account Form 5500s on its own.
  27   The separate account filings, however, are not distributed to plans. (Declaration of
       Leecea Johnson at ii 3.)
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                                                            OPP. TO PLS. ' MOT. FOR CLASS CERT.
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   1   TLI C's fees as bundled on Schedule C, rather than separately reporting the separate
   2   account fees. (Exs. BB, CC.) As a result, to the extent Form 5500s are relevant, 19
   3   they provide plan-specific support in those (and other similar) cases for TLIC's
   4   contention that its IM/Admin fees were part of a bundled service offering.
   5                 2.    Plan-Sp~cific Evidence Is Necessary to Determine Whether
                           Plan Officials Agreed to Pay Fees Outside the Range of Fees
   6                       Found in the Market.
   7          Defendants' expert, Dr. Stromborn, demonstrated the wide range of fees paid
   8   by plans in the proposed clas , and the many choices plans and their advisors made

   9   that influenced total fees.
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                 The Government Accountability Office released a report this summer
  26   criticizing the Form 5500 as "poorly designed and unduly complicated," and
  27   recommending, inter alia, that the DOL revise the reporting requirements to align
       more closely with DOL's Section 408(b)(2) disclosures. (See Ex. DD.)
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   3          The experience of the named plaintiffs' plans proves that individualized
   4    inquiry is necessary to understand whether the sponsors agreed to pay fees outside
   5    the range of prices found in the market between arm 's-length buyers and sellers.
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  19          The plaintiffs' plans were by no means unique in harnessing the forces of
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